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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

MEMPHIS DIVISION
JAMES BECK,
Plaintiff, CASE NO.:
v.
ALLY FINANCIAL, INC.,
Defendant.
/

 

COMPLAINT AND DEMAND FOR JURY TRIAL
COMES NOW, Plaintiff, JAMES BECK, by and through the undersigned counsel, and
sues Defendant, ALLY FINANCIAL, INC., and in support thereof respectfully alleges violations
of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).
INTRODUCTION

l. The TCPA Was enacted to prevent companies like Defendant from invading
American citizen’s privacy and to prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of
modern civilization, they Wake us up in the morning; they interrupt our dinner at night; they
force the sick and elderly out of bed; they hound us until We Want to rip the telephone out of the
Wall.” 137 Cong. Rec. 3(), 821 (1991). Senator Hollings presumably intended to give telephone
subscribers another option: telling the auto-dialers to simply stop calling.” Osorio v. Stale Farm

Bank, F.S.B., 746 F. 3d 1242, 1256 (l lth Cir. 2014).

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4. According to the Federal Communications Commission (FCC), “Unwanted calls
and texts are the number one complaint to the FCC. There are thousands of complaints to the
FCC every month on both telemarketing and robocalls. The FCC received more than 215,000
TCPA complaints in 2014." Fact Sheet.' Wheeler Proposal to Protect and Empower Consumers
Against Unwcmted Robocalls, Texts to Wireless Phones, Federal Communications Commission,
(May 27, 2()l5), https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

JURISDICTION AND VENUE

5. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. § 133 l , Federal Question Jurisdiction, as this action involves violations of the TCPA.

6. Subject matter jurisdiction, federal question jurisdiction, for purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, Which provides that the district courts
shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties
of the United States; and this action involves violations of 47 U.S.C. § 227(b)(l)(A)(iii). See
Mims v. Arrow Fin. Servs., LLC, S.Ct. 74(), 748 (2()12) and Osorio v. State Farm chk, F.S.B.,
746 F.3d 1242, 1249 (l lth Cir. 2014).

7. The alleged violations described herein occurred in Shelby County, Tennessee.
Accordingly, venue is appropriate With this Court under 28 U.S.C. §l391(b)(2), as it is the
judicial district in Which a substantial part of the events or omissions giving rise to this action
occurred.

FACTUAL ALLEGATIONS
8. Plaintiff is a natural person, and citizen of the State of Tennessee, residing in

Shelby County, Tennessee.

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9. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
1265 (l ith Cir. 2014) and Osorio v. State Farm chk, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

10. Defendant is a corporation which was formed in Delaware with its principal place
Of business located at 500 Woodward Avenue and which conducts business in the State of
Tennessee through its registered agent, C T Corporation System, located at 800 South Gay
Street, Suite 2021, Knoxville, Tennessee 37929.

ll. Defendant called Plaintiff hundreds of times in an attempt to collect an alleged
debt.

12. Defendant attempted to collect an alleged debt from Plaintiff by this campaign of
telephone calls.

13. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (901) ***-7029 and was the called party and recipient of Defendant’s calls.

14. Upon receipt of the calls from Defendant, Plaintiff`s caller ID identified the calls
were being initiated from, but not limited to, the following telephone number: (888) 282-3139.

15. Upon information and belief, some or all of the calls Defendant made to
Plaintiff s cellular telephone number were made using an “automatic telephone dialing system”
which has the capacity to store or produce telephone numbers to be called, using a random or
sequential nwnber generator (including but not limited to a predictive dialer) or an artificial or
prerecorded voice', and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter
“auto-dialer calls”). Plaintiff will testify that he knew it was an auto-dialer because of the vast
number of calls he received and because he heard a pause when he answered his telephone

before a voice came on the line and he received prerecorded messages from Defendant.

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16. On several occasions over the last four (4) years, Plaintiff instructed Defendant’s
agent(s)/representative(s) to stop calling his cellular telephone

17. ln or about the fall of 2015, Plaintiff answered a ca11 from Defendant to his
aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of
Defendant and informed the agent/representative that the calls to his cellular telephone were
harassing, informed the agent he would contact them for payments and demanded that they cease
calling is cellular telephone number.

18. Each subsequent call Defendant made to Plaintiff s aforementioned cellular
telephone number was knowing and willful and done so without the “eXpress consent” of
Plaintiff

19. Despite clearly and unequivocally revoking any consent Defendant may have
believed they had to call Plaintiff on his cellular telephone, Defendant continues to place
automated calls to Plaintiff.

20. In or about the fall of 2017, Plaintiff answered an automated call from Defendant
to his cellular telephone Plaintiff again demanded a cessation of calls to his cellular telephone
from Defendant to the agent/representative of Defendant on the line

21. Plaintiffs numerous conversations with Defendant’s agent(s)/representative(s)
over the telephone wherein he demanded a cessation of calls were in vain as Defendant continues
to bombard him with automated calls unabated.

22. Defendant intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day, and on back to back days, with such frequency as can

reasonably be expected to harass.

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23. Defendant has a corporate policy to use an automatic telephone dialing System or
a pre-recorded or artificial voice to individuals just as they did to Plaintiff’ s cellular telephone in
this case

24. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice, just as they did to Plaintiffs cellular telephone in this case,
with no way for the consumer, or Defendant to remove the number.

25. Defendant’s corporate policy is structured so as to continue to call individuals like
Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

26. Defendant has numerous other federal lawsuits pending against them alleging
similar violations as stated in this Complaint.

27. Defendant has numerous complaints against them across the country asserting that
their automatic telephone dialing system continues to call despite being requested to stop.

28. Defendant has had numerous complaints against them from consumers across the
country asking to not be called, however Defendant continues to call these individuals

29. Defendant’s corporate policy provided no means for Plaintiff to have Plaintiffs
number removed from Defendant’s call list.

30. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge the called parties do not wish to be called.

31. Not one of Defendant’s telephone calls placed to Plaintiff was for “emergency
purposes” as specified in 47 U.S.C. § 227(b)(l)(A).

32. Defendant willfully and/ or knowingly violated the TCPA with respect to Plaintiff.

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33. From each and every call placed without express consent by Defendant to
Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion
upon his right of seclusion

34. From each and every call without express consent placed by Defendant to
Plaintiff’s cellular telephone, Plaintiff suffered the injury of the occupation of his cellular
telephone line and cellular telephone by unwelcome calls, making the telephone unavailable for
legitimate callers or outgoing calls while the phone was ringing from Defendant’s call.

35. From each and every call placed without express consent by Defendant to
Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of his time
For calls he answered, the time he spent on the call was unnecessary as he repeatedly asked for
the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the telephone
and deal with missed call notifications and call logs that reflect the unwanted calls This also
impaired the usefulness of these features of Plaintiff s cellular telephone, which are designed to
inform the user of important missed communications

36. Each and every call placed without express consent by Defendant to Plaintiff’s
cellular telephone was an injury in the form of a nuisance and annoyance to Plaintiff For calls
that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for
unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed call
notifications and call logs that reflected the unwanted calls This also impaired the usefulness of
these features of Plaintiff’s cellular telephone, which are designed to inform the user of

important missed communications

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37. Each and every call placed without express consent by Defendant to Plaintiffs
cellular telephone resulted in the injury of unnecessary expenditure of Plaintiffs cellular
telephone’s battery power.

38. Each and every call placed without express consent by Defendant to Plaintiff s
cellular telephone where a voice message was left which occupied space in Plaintiffs telephone
or network.

39. Each and every call placed without express consent by Defendant to Plaintiffs
cellular telephone resulted in the injury of a trespass to Plaintiffs chattel, namely his cellular
telephone and his cellular telephone services

40. As a result of the calls described above, Plaintiff suffered an invasion of privacy.
Plaintiff was also affect in a personal and individualized way by stress and aggravation

COUNT l
(Violation of the TCPA)

41. Plaintiff fully incorporates and realleges paragraphs one (1) through forty (40) as
if fully set forth herein

42. Defendant willfully violated the TCPA with respect to Plaintiff, specifically for
each of the auto-dialer calls made to Plaintiff s cellular telephone after Plaintiff notified
Defendant that Plaintiff wished for the calls to stop

43. Defendant repeatedly placed non-emergency telephone calls to Plaintiffs cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiffs prior express consent in violation of federal law, including 47 U.S.C §
227(b)(l)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages treble

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damages enjoinder from further violations of these parts and any other such relief the court may
deem just and proper.
Respectfully submitted,

/s/FrcmkH. Kerney, lll, Esquire

 

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